






NO. 07-03-0463-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 10, 2004



______________________________




IN THE INTEREST OF L.L., T.Y. AND D.C., CHILDREN



_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2002-517,011; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	On October 23, 2003, the clerk of this court received a copy of a Notice of Appeal 
filed on behalf of appellant Twila Young.  By letter dated November 5, 2003, the clerk
advised counsel for appellant that a filing fee had not been received, see Tex. R. App. P.
5, nor had a docketing statement been filed.  See Tex. R. App. P. 32.1.  The clerk's letter
likewise advised that no further action would be taken on the appeal by this Court until a
filing fee had been paid and that failure to pay the filing fee may result in dismissal of the
appeal.  See Tex. R. App. P. 42.3. 

	The filing fee was not paid.  On June 30, 2004 this matter was abated and
remanded to the trial court for determination of indigency and desire to prosecute this
appeal.  On July 23, 2004 the trial court entered its Supplemental Finding of Facts and
Conclusions of Law stating that the appellant had failed to prosecute her appeal, failed to
establish indigency and granted appellant counsel's motion to withdraw as counsel for
appellant.  By letter dated August 11, 2004, the clerk advised appellant that the filing fee
had still not been paid, and that unless the filing fee was received on or before August 31,
2004, the appeal would be subject to dismissal. 

 	The filing fee has not been paid.  Accordingly, this appeal is dismissed.  Tex. R. App.
P. 42.3.


						Phil Johnson

						Chief Justice



			


	



efUnhideWhenUsed="true"
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NO. &nbsp;07-10-0066-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL B

&nbsp;

MAY 27, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

ANTHONY LOCKETT,

&nbsp;

Appellant

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS

&nbsp;

Appellee

_______________________________

&nbsp;

FROM THE 140TH DISTRICT COURT OF LUBBOCK
COUNTY;

&nbsp;

NO.&nbsp;
2009-422947; HON. JIM BOB DARNELL, PRESIDING

_______________________________

&nbsp;

Dismissal

_______________________________

&nbsp;

Before
QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
Anthony Lockett, appeals his conviction for possession of a controlled substance,
a first degree felony.&nbsp;&nbsp; By letter dated
May 7, 2010, we informed appellant that it appeared his notice of appeal was
untimely and he had until May 17, 2010, to provide us with any information that
would be necessary to our determination of jurisdiction.&nbsp; Appellant filed a motion for this court to
accept jurisdiction because even though the notice of appeal and motion for new
trial were not filed within thirty days after sentence was pronounced, they were
filed timely after the written judgment was signed.&nbsp; This, according to appellant, vests the
Court with jurisdiction to hear issues regarding orders contained in the
written judgment but not orally pronounced at trial.&nbsp; Appellant further relies on the case of Bailey v. State, 160 S.W.3d 11 (Tex.
Crim. App. 2004) to support his argument.&nbsp;
In Bailey, the Court of
Criminal Appeals held that a restitution order entered about a month after
sentencing was pronounced was a continuation of the sentencing hearing because
appellants punishment was not complete until the restitution was ordered.&nbsp; This is not the case here.&nbsp; Appellant admits that restitution was not
ordered in this case nor has he pointed us to anywhere in the record to
indicate punishment has not been completed.&nbsp;
&nbsp;Nor does he suggest that anything
is actually wrong with the judgment itself or that it encompasses punishment
different from that orally pronounced.&nbsp; &nbsp;&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
appellant agrees that his motion for new trial and notice of appeal were not
timely filed from the date sentence was pronounced, we find we lack
jurisdiction over the matter.[1]&nbsp; &nbsp;

Accordingly, appellants appeal is
dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

Do not
publish.











[1]The appropriate vehicle for seeking an
out-of-time appeal from a final felony conviction is by writ of habeas corpus
pursuant to article 11.07 of the Texas Code of Criminal Procedure.&nbsp; See
Tex. Code Crim. Proc.
Ann. art. 11.07 (Vernon
Supp. 2009-2010).&nbsp; 







